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                                    STATEMENT OF FACTS

        Your affiant, Alexander Dehr, is a Special Agent assigned to FBI Chicago’s
Counterterrorism Branch – All Hazards Assessment squad. In my duties as a special agent, I
handle initial threat information, criminal complaints, events and suspicious activities. Currently,
I am tasked with investigating criminal activity in and around the Capitol grounds on January 6,
2021. Through my employment with the FBI, I have gained knowledge in the use of various
investigative techniques including the utilization of physical surveillance, investigative interviews,
financial investigations, the service of administrative and grand jury subpoenas, and the execution
of search and arrest warrants, including the execution of search warrants involving electronic
evidence. Prior to my employment with the FBI, I was employed with the Lafayette, Indiana
Police Department (LPD) for approximately six years. During my tenure with LPD, I gained
experience investigating threats and criminal matters. I also gained experience in testifying in state
court. As a Special Agent, I am authorized by law or by a Government agency to engage in or
supervise the prevention, detection, investigation, or prosecution of a violation of Federal criminal
laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.
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       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        On January 16, 2021, an individual (“Tipster #1”) provided the FBI with a screenshot of
ATHANASIOS ZOYGANELES’ (“ZOYGANELES”) Facebook page (depicted below). Tipster #1 further
reported that “this guy” went inside of the Capitol and posted a “very creepy video of him in the Capitol
saying Nazis, where are you??” Tipster #1 added that he was with a group going into offices, and in the
video saying let’s clean up as they went through books and files. Tipster #1 added that ZOYGANELES
took down the video on the day of the interaction, likely meaning the day of the post, but noted there is
plenty of other evidence on his Facebook profile.




        On January 17, 2021, an individual (“Tipster #2”) provided the FBI with a link to a video on
ZOYGANELES’ Facebook page and a screenshot of a Facebook video posted by ZOYGANELES. Tipster
#2 also added that there was a video on the Capitol steps and screenshots of faces in the crowd.

        On January 21, 2021, the FBI received an anonymous tip (Tipster #3) reporting that
ZOYGANELES, who is approximately 44 years old, made entry into the United States Capitol building on
January 6, 2021. Tipster #3 did not have additional personal identifiers to provide but revealed that he/she
went to high school with ZOYGANELES. However, he/she has not been in contact with ZOYGANELES
since high school. Tipster #3 further disclosed that his/her unidentified friend stated that ZOYGANELES
posted on his Facebook account that he attended the “rally,” which is likely a reference to the rally at the
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Ellipse. This unidentified friend also stated that ZOYGANELES posted a video going up to the Capitol,
pictures of himself in the Capitol and sitting at Nancy Pelosi’s desk. Tipster #3 provided a link to
ZOYGANELES’ Facebook account.

        Your affiant has reviewed ZOYGANELES’ Indiana Driver’s License Photograph. The profile
picture depicted in Tipster #1’s screenshot appears to depict the same individual known to your Affiant as
ZOYGANELES.

        According to an open-source review in September 2021, the FBI observed the following publicly
available posts on ZOYGANELES’S Facebook account, which were made on January 6, 2021:
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        Pursuant to a Court-authorized search warrant, law enforcement obtained records from Facebook,
which revealed that ZOYGANELES made plans to go to Washington, D.C since at least December 2020.




        According to these records, on January 5, 2021, ZOYGANELES made the comment “We need to
take over the capital building tomorrow” on two separate live videos posted by other Facebook users. On
January 6, 2021, another Facebook user asked ZOYGANELES “R U OK,” to which ZOYGANELES
replied at approximately 4:39 p.m., “No I rushed the capital and lost everyone I was with[.]” Later in the
conversation, ZOYGANELES told this same user, “No im done i was teargassed maced and they were
throwing flash bangs at me but I still stayed on the front lines.It wasn’t easy but we did it.”

         According to records obtained through a search warrant served on Google, a mobile device
associated with tzoyganeles@gmail.com was present at the U.S. Capitol on January 6, 2021. Google
estimates device location using sources including GPS data and information about nearby Wi-Fi access
points and Bluetooth beacons. This location data varies in its accuracy, depending on the source(s) of the
data. As a result, Google assigns a “maps display radius” for each location data point. Thus, where Google
estimates that its location data is accurate to within 10 meters, Google assigns a “maps display radius” of
10 meters to the location data point. Finally, Google reports that its “maps display radius” reflects the
actual location of the covered device approximately 68% of the time. In this case, Google location data
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shows that a device associated with tzoyganeles@gmail.com was within the U.S. Capitol between
approximately 2:17 PM EST and 3:09 PM EST on January 6, 2021. Google records show that the “maps
display radius” for this location data was between approximately 17 and 156 meters, which encompasses
an area that is partially within the U.S. Capitol Building.


       Records provided by Google revealed that the mobile device associated with
tzoyganeles@gmail.com belonged to a Google account registered in the name of “Athanasiis Zoyganeles.”
The Google account also lists a recovery SMS phone number of +XXXXXXX9147 and a sign-in Phone
Number of +XXXXXXX1033. Google also revealed that Chicago, IL is the billing location.

         In August 2021, records obtained from AT&T revealed that telephone number + XXXXXXX9147
is registered to an identified individual, who does not appear to have a connection to ZOYGANELES. Also,
in August 2021, Verizon revealed that telephone number +XXXXXXX1033 is registered to a person,
believed to be ZOYGANELES’ brother in Chicago, Illinois. 1

         The above referenced records received from Facebook revealed ZOYGANELES providing
telephone number +XXXXXXX9147 to businesses while seeking free samples or additional information
in January 2021 and December 2021. However, according to the same records, ZOYGANELES provided
cellular telephone number +XXXXXXX1033 three times between January 6, 2021 and December 3, 2021
to individuals, not businesses, as his contact number. Accordingly, the FBI believes that ZOYGANELES
provides cellular telephone number +XXXXXXX1033 as his actual telephone number.

         In August 2021, records obtained from Venmo revealed an account belonging to ZOYGANELES
with telephone number +XXXXXXX1033, e-mail address tzoyganeles@gmail.com, and ZOYGANELES’
social security number. The FBI notes that e-mail address tzoyganeles@gmail.com was identified by
Google as being associated with a device located within the U.S. Capitol on January 6, 2021. Additionally,
the FBI believes that while telephone number +XXXXXXX1033 is registered to a person believed to be
ZOYGANELES’ brother, the FBI believes that ZOYGANELES uses this telephone number.

        FBI personnel reviewed a publicly available video which depicts, among other things, the area
outside of the Parliamentarian Doors. In this video, ZOYGANELES is seen standing outside of the
Parliamentarian Doors holding a piece of wood while smoking.




1
 Pursuant to a Court-authorized search warrant, law enforcement obtained records from AT&T and
Verizon for cell towers providing service to the United States Capitol. The telephone numbers
+XXXXXXX9147 and +XXXXXXX1033 were not identified as having utilized a cell site, or cell sites,
consistent with providing service to the geographic area that includes the interior of the United States
Capitol building in and around the time of the incident.
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                                (Outside of the Parliamentarian Doors)

        FBI personnel reviewed video footage from the U.S. Capitol security cameras during the times in
which a device associated with ZOYGANELES’s e-mail address was identified as being inside the U.S.
Capitol. In reviewing the video footage, FBI personnel identified ZOYGANELES as being physically
present in the U.S. Capitol, specifically entering through the Parliamentarian Doors and then appears to
film and/or photograph the interior of the U.S. Capitol with a cellular telephone device. Additionally,
ZOYGANELES is seen smoking a cigarette while inside of the Capitol.




                       (Filming and/or Photographing Inside of the U.S. Capitol)
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                                (Smoking Inside of the U.S. Capitol)

       In October 2021, the FBI met with a close family member of ZOYGANELES (“Family #1”) and
showed the close family member several photographs of ZOYGANELES in and around the U.S. Capitol
from January 6, 2021, some of which are depicted below. Family #1 identified the individual in the
photographs as ZOYGANELES.




                                   (Outside of the U.S. Capitol)
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                                   (Inside of the U.S. Capitol)




                                   (Outside of the U.S. Capitol)

       Based on the foregoing, your affiant submits that there is probable cause to believe that
ZOYGANELES violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; and (2)
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knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; or attempts or conspires to do so.
For purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off,
or otherwise restricted area of a building or grounds where the President or other person protected
by the Secret Service, including the Vice President, is or will be temporarily visiting; or any
building or grounds so restricted in conjunction with an event designated as a special event of
national significance.

        Your affiant submits there is also probable cause to believe that ZOYGANELES violated
40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter
loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place
in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the
orderly conduct of a session of Congress or either House of Congress, or the orderly conduct in
that building of a hearing before, or any deliberations of, a committee of Congress or either House
of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.


                                                     ____________________________________
                                                     Alexander Dehr, Special Agent
                                                     Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 18th day of February 2022.
                                                                       Zia M. Faruqui
                                                                       2022.02.18
                                                                       15:28:31 -05'00'
                                                     ___________________________________
                                                     ZIA M. FARUQUI
                                                     U.S. MAGISTRATE JUDGE
